Case 20-71228-pmb        Doc 25    Filed 11/13/20 Entered 11/13/20 14:04:01             Desc Main
                                   Document     Page 1 of 4



                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                       CHAPTER 11
 AREU STUDIOS, LLC,
                                                       CASE NO. 20-71228-pmb
          Debtor.

          NOTICE OF HEARING ON DEBTOR’S DISCLOSURE STATEMENT
           WITH REGARD TO CHAPTER 11 PLAN OF REORGANIZATION

       PLEASE TAKE NOTICE that on November 11, 2020, Debtor Areu Studios, LLC filed
its Disclosure Statement with Regard to Chapter 11 Plan of Reorganization (“Disclosure
Statement”) (Doc. No. 16) referring to a Chapter 11 Plan of Reorganization (Doc. No. 17)

       PLEASE TAKE FURTHER NOTICE that the Court shall hold a hearing on the
Disclosure Statement on the 14th day of December, 2020 at 2:00 o’clock p.m., Courtroom
1202, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. Given
the current public health crisis, hearings may be telephonic only. Please check the “Important
Information Regarding Court Operations During COVID-19 Outbreak” tab at the top of the
GANB Website (http://www.ganb.uscourts.gov/) prior to the hearing for instructions on whether
to appear in person or by phone.

       Your rights may be affected by the Court’s ruling on the Motion. You should read the
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.) If you do not want the court to
grant the relief sought in these pleadings or if you want the court to consider your views, then you
and/or your attorney must attend the hearing. You may also file a written response to the pleading
with the Clerk at the address stated below, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how and on whom (including addresses) you
served the response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk’s Office is Clerk, U.S. Bankruptcy
Court, 1340 United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303. You must
Case 20-71228-pmb       Doc 25   Filed 11/13/20 Entered 11/13/20 14:04:01           Desc Main
                                 Document     Page 2 of 4



also mail a copy of your response to the undersigned at the address stated below and the United
States Trustee at 75 Ted Turner Drive, SW, Suite 362, Atlanta, Georgia, 30303.

       This 13th day of November, 2020.

                                            JONES & WALDEN LLC

                                            /s/ Cameron M. McCord
                                            Cameron M. McCord
                                            Georgia Bar No. 143065
                                            699 Piedmont Avenue, NE
                                            Atlanta, Georgia 30308
                                            cmccord@joneswalden.com
                                            (404) 564-9300
Case 20-71228-pmb        Doc 25    Filed 11/13/20 Entered 11/13/20 14:04:01              Desc Main
                                   Document     Page 3 of 4



                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                        CHAPTER 11
 AREU STUDIOS, LLC,
                                                        CASE NO. 20-71228-pmb
          Debtor.

                                 CERTIFICATE OF SERVICE

        I hereby certify that on this day the Notice of Hearing on Debtor’s Disclosure Statement
with Regard to Chapter 11 Plan of Reorganization (the “Notice”) was filed using the Bankruptcy
Court’s Electronic Filing program which sends a notice of and an accompanying link to the Notice
to the following parties who have appeared in this case under the Bankruptcy Court’s Electronic
Case Filing Program:

           -   Matthew R. Brooks: matthew.brooks@troutmansanders.com;
           -   Shawna Staton: shawna.p.staton@usdoj.gov

       I further certify that on this day I caused a true and correct copy of the Notice to be served
upon the parties listed on the attached mailing matrix via U.S. First Class Mail by placing a copy
of same in a properly addressed envelope with adequate postage affixed thereon.

       This 13th day of November, 2020.

                                              JONES & WALDEN LLC

                                              /s/ Cameron M. McCord
                                              Cameron M. McCord
                                              Georgia Bar No. 143065
                                              Proposed Attorney for Debtor
                                              699 Piedmont Avenue, NE
                                              Atlanta, Georgia 30308
                                              (404) 564-9300
                                              cmccord@joneswalden.com
               Case 20-71228-pmb   Doc 25   Filed 11/13/20          Entered 11/13/20 14:04:01      Desc Main
                                       AT&T Document           Page 4 of 4           Areu Studios, LLC
                                       2300 Parklake Center Dr                       3133 Continental Colony Parkway SW
                                       Tucker, GA 30084                              Atlanta, GA 30331-3109



                                       Cinelease                                     Clayton Robert Barker III
                                       10 Southwoods Pkwy #100                       Law Offices of Robert Barker
                                       Atlanta, GA 30354-3733                        4779 Sedberry Hill Court SE
                                                                                     Atlanta, GA 30339-5362


Corporate Creations Network In         Cushman & Wakefield                           ECS, Inc.
2985 Gordy Parkway, 1st Floor          1180 Peachtree Street NE #3100                15351 West 109th Street
Marietta, GA 30066-3078                Atlanta, GA 30309-7529                        Lenexa, KS 66219-1201



Endavo Media & Communications          Green Fern Tree Service                       Humana
3423 Piedmont Rd NE                    1310 Northshore Drive                         500 West Main Street
Atlanta, GA 30305-1751                 Roswell, GA 30076-2816                        Louisville, KY 40202-4268



Internal Revenue Service                                                             Johnson Controls
P. O. Box 7346                                                                       1350 Northmeadow Pkwy #100
Philadelphia, PA 19101-7346                                                          Roswell, GA 30076-5703



LV Atlanta LLC                         Lawrence & Bundy LLC                          Mary Propes
175 SW 7th St., Suite 2101             1180 W. Peachtree St NW #1650                 MFVDPR, LLC
Miami, FL 33130-2962                   Atlanta, GA 30309-3728                        Charleston, SC 29492



                                       Palmer Productions                            Rene Jongsman
                                       2023 S. Westgate Avenue                       2828 Peachtree #2801
                                       Los Angeles, CA 90025-6118                    Atlanta, GA 30305-5119



Rinehart Security & Consulting         Secretary of the Treasury                     Sohonet
2451 Cumberland Pkwy, SE               15th & Pennsylvania Avenue, NW                12950 Culver Blvd, Suite 100
Atlanta, GA 30339-6136                 Washington, DC 20200                          Los Angeles, CA 90066-6785



Spot on Content LLC                                                                  U. S. Securities and Exchange Commission
6787 West Tropicana, Suite 233                                                       Office of Reorganization
Las Vegas, NV 89103-4913                                                             Suite 900
                                                                                     950 East Paces Ferry Road, NE
                                                                                     Atlanta, GA 30326-1382

ULINE                                  VSC Fire Security                             UnitedHealthcare Insurance Company
12575 Uline Drive                      1780 Corporate Drive, Ste 425                 ATTN: CDM/Bankruptcy
Pleasant Prairie, WI 53158-3686        Norcross, GA 30093-2958                       185 Asylum Street
                                                                                     03B
                                                                                     Hartford, CT 06103-3408
